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 EXHIBIT 2
                                 Case 5:22-cv-03732-EJD Document 1-2 Filed 06/24/22 Page 2 of 2

                                                                                                                                                                                      SUM-1 00
                                                        SU M Mo NS                                                                                         FOR COURT USE ONLY
                                                                                                                                                ILED(SOLOPARA USO DELA CORTE)
                                              (CITACION JUDICIAL)                                                                        E-
                                                                                                                                        5/11/2022 11301 AM
NOTICE To DEFENDANT:
(A VIso AL DEMANDADO):
                                                                                                                                        Cl rk_0f Court

ERIC BRAVICK, an                 individual    and      DOES     1   through 100, inclusive                                             SU erlor Court 0f CA:
                                                                                                                                        Co nty of Santa Clara
You ARE BEING SUED BY PLAINTIFF:                                                                                                        22 V398321
(Lo ESTA DEMANDANDo EL DEMANDANTE):                                                                                                     Re iewed By; R_ Cachux
DFINITY        USA RESEARCH,                  LLC, a limited         liability   company                                                En elope; 8959784
 NOTICE! You have been sued. The                   court   may   decide against you without your being heard unless you respond within 30 days. Read the information
 below.
   You have 30 CALENDAR DAYS after this summons and legal papers are sewed on you to ﬁle a written response at this court and have a copy
 served on theplaintiff. A letter or phone call wi|| not protect you. Your written response must be in proper legal form if you want the court to hear your

 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online SeIf-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, orthe courthouse nearest you. If you cannot pay the filing fee, ask the
 court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
 be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonproﬁt legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self—Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court wi|| dismiss the case.
 jA VISO! Lo han demandado. Si no responde dentro de 30 dias, Ia corte puede decidir en su contra sin escuchar su versién. Lea la informacio’n a
 continuacio’n.
     Tiene 30 DI'AS       DE CALENDARIO después de que le entreguen esta citacio’n y papeles legales para presenter una respuesta por escrito en esta
 corte   y hacer que se entregue una copia  al demandante. Una carta o una Ilamada telefénica no lo protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto    desea que procesen su caso en la corte. Es posib/e que haya un formulario que usted pueda usar para su respuesta.
                                     si
 Puede encontrar estos formularios de la corte y ma’s informacic’zn en el Centro de Ayuda de Ias Cortes de California (www.sucorte.ca.gov), en la
 biblioteca de [eyes de su condado o en la corte que le quede ma’s cerca. Si no puede pagar la cuota de presentacién, pida al secretario de la corte que
 le dé un formulario de exencién de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podra’

 quitar su sueldo, dinero y bienes sin ma’s advertencia.
    Hay otros requisites legales. Es recomendab/e que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
 remisio’n a abogados. Si no puede pagar a un abogado, es posible que cumpla con Ios requisites para obtener servicios legales gratuitos de un
 programa de servicios legales sin ﬁnes de lucro. Puede encontrar estos grupos sin ﬁnes de lucro en el sitio web de California Legal Services,
 (www.lawhelpcaliforniaorg), en el Centro de Ayuda de Ias Codes de California, (www.sucorte.ca.gov) o ponie’ndose en contacto con la code o el
 co/egio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar Ias cuotas y los costos exentos por imponer un gravamen sabre
 cualquier recuperacién de $10,000      ma’s de valor recibida mediante un acuerdo o una concesién de arbitraje en un caso de derecho civil. Tiene que
                                                 (’2



 pagar el gravamen de la code antes de que la corte pueda desechar el caso.
The name and address ofthe court is:                                                                                                  CASE NUMBER: (Namero                   del Caso):
(El nombre y direccién de la corte es):
                                                                                                                                               220v398321
Santa Clara County Superior Court, 191 N.                            First Street,    San Jose,     CA   951 13

The name, address, and telephone number of plaintiff‘s attorney, or plaintiff without an attorney,                                       is:   (El   nombre,   la direccién        y el nL’Imero
de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
Bradford K.          Newman, Baker & McKenzie LLP, 600 Hansen Way, Palo                                  Alto,   CA   94304,   Tel:   650-856-2400
DATE:                                                                                                                                                                                     DePUty
(Fecha)
               5/1     “2022         11'01
                                          .

                                                 AM          Clerk 0f Court
                                                                                                                  Clerk, by             R_     Cachux                                 1




                                                                                                                                                                                      (Adjunto)
                                                                                                                  (Secretaﬁo)
(Forproof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatién use el formulario Proof of Service of Summons, (POS-010)).
                                                   NOTICE TO THE PERSON SERVED: You                              are served

                                                   1.

                                                   2.
                                                         E
                                                         E           as an individual defendant.
                                                                     as the person sued under the ﬁctitious            name    of (specify):


                                                   3.    E           on behalf     of (specify):

                                                          Eunder:         CCP
                                                                      |:| CCP
                                                                                      416.10 (corporation)
                                                                                      416.20 (defunctcorporation)
                                                                                                                                       E
                                                                                                                                       E        CCP 416.60
                                                                                                                                                CCP 416.70
                                                                                                                                                                  (minor)



                                                          E               CCP         416.40 (association or partnership)              E        CCP 416.90
                                                                                                                                                                  (conservatee)
                                                                                                                                                                  (authorized person)




Form Adopted   for   Mandatory Use
                                                   4.
                                                         EE                      other (specify):
                                                                     by personal delivery on

                                                                                            S UMMONS
                                                                                                    (date):

                                                                                                                                                           Code   of Civil
                                                                                                                                                                                          P3991   o“
                                                                                                                                                                             Procedure §§ 41220, 465
Judicial Council of California                                                                                                                                                     www.courts.ca.gov
SUM-100    [Rev. July 1, 2009]
